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                                       SO ORDERED: July 28, 2022.




                                       ______________________________
                                       Jeffrey J. Graham
                                       United States Bankruptcy Judge




                               IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE SOUTHERN DISTRICT OF INDIANA
                                        INDIANAPOLIS DIVISION

                                                                                )
         In re:                                                                 )    Chapter 11
                                                                                )
         AEARO TECHNOLOGIES LLC, et al., 1                                      )    Case No. 22-02890-JJG-11
                                                                                )
                                  Debtors.                                      )    (Joint Administration Requested)
                                                                                )

     ORDER (I) AUTHORIZING THE DEBTORS TO FILE ONE LIST OF THE TOP LAW FIRMS
    REPRESENTING THE LARGEST NUMBERS OF TORT PLAINTIFFS ASSERTING CLAIMS
  AGAINST THE DEBTORS, (II) AUTHORIZING THE DEBTORS TO FILE ONE CONSOLIDATED
   CREDITOR MATRIX, (III) AUTHORIZING THE LISTING OF ADDRESSES OF COUNSEL FOR
      TORT CLAIMANTS IN CREDITOR MATRIX IN LIEU OF CLAIMANTS’ ADDRESSES,
        (IV) AUTHORIZING THE DEBTORS TO REDACT PERSONALLY IDENTIFIABLE
  INFORMATION, (V) APPROVING CERTAIN NOTICE PROCEDURES FOR TORT CLAIMANTS,
(VI) APPROVING THE FORM AND MANNER OF NOTICE OF THE COMMENCEMENT OF THESE
                CHAPTER 11 CASES, AND (VII) GRANTING RELATED RELIEF

     1
           The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
           number, are set forth in the Debtors’ Motion for Entry of an Order (I) Directing Joint Administration of Chapter
           11 Cases and (II) Granting Related Relief, filed contemporaneously herewith. The location of the Debtors’ service
           address for the purposes of these chapter 11 cases is: 7911 Zionsville Road, Indianapolis, Indiana 46268.
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                                              2
        Upon the motion (the “Motion”) of the above-captioned debtors and debtors in possession

(the “Debtors”) for entry of an order (this “Order”), (a) authorizing the Debtors to file a single

consolidated Top Counsel List; (b) authorizing the Debtors to file one consolidated Creditor Matrix,

(c) authorizing the listing of addresses of counsel for the Tort Claimants in the Creditor Matrix (as

defined below) in lieu of the claimants’ addresses; (d) authorizing the Debtors to redact certain

personally identifiable information; (e) approving certain notice procedures for the Tort Claimants;

(f) approving the form and manner of the Notice of Commencement (as defined below) of these

chapter 11 cases and the scheduling of the meeting of creditors under section 341 of the Bankruptcy

Code; and (g) granting related relief, all as more fully set forth in the Motion; and upon the First

Day Declaration; and this Court having jurisdiction over this matter pursuant to 28 U.S.C. § 1334

and the Standing Order of Reference from the United States District Court for the Southern District

of Indiana, dated July 11, 1984; and this Court having found that this is a core proceeding pursuant

to 28 U.S.C. § 157(b)(2); and this Court having found that it may enter a final order consistent with

Article III of the United States Constitution; and this Court having found that venue of this

proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and

this Court having found that the relief requested in the Motion is in the best interests of the Debtors’

estates, their creditors, and other parties in interest; and this Court having found that the Debtors’

notice of the Motion and opportunity for a hearing on the Motion were appropriate under the

circumstances and that no other notice need be provided; and this Court having reviewed the Motion

and having heard the statements in support of the relief requested therein at a hearing before this

Court (the “Hearing”); and this Court having determined that the legal and factual bases set forth in

the Motion and at the Hearing establish just cause for the relief granted herein; and upon all of the



2
    Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.


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proceedings had before this Court; and after due deliberation and sufficient cause appearing

therefor, it is HEREBY ORDERED THAT:

               The Debtors shall file within five business days of the entry of this Order: (i) one

consolidated list containing the top law firms representing plaintiffs asserting Combat Arms Claims

against the Debtors as determined by the volume or other related factors of filings; (ii) one

consolidated list containing the top law firms representing plaintiffs asserting Respirator Claims

against the Debtors as determined by the volume or other related factors of filings; and (iii) a list of

the individual holders of the twenty largest unsecured claims against the Debtors other than asserted
                                                         3
Combat Arms Claims and asserted Respirator Claims.

               The Debtors are authorized to file one consolidated Creditor Matrix.

               The Debtors are authorized to list the addresses of counsel of record of the Tort

Claimants in the Debtors’ Creditor Matrix in lieu of listing the individual claimants’ addresses.’

               The Debtors are authorized to redact on the Creditor Matrix, Schedules and

Statements, and any other document filed with the Court (a) the home addresses of individuals, and

(b) the names, addresses, and other Personal Data of any natural person whose personally

identifiable information has been provided to an organization with an establishment in the United

Kingdom or a European Economic Area member state. The Debtors shall provide an unredacted

version of the Creditor Matrix, Schedules and Statements, and any other filings redacted pursuant

to this Order upon request to (x) the Court, the U.S. Trustee, counsel to any official committee

appointed in these chapter 11 cases, and (y) to any party in interest upon a request to the Debtors

(email is sufficient) or to the Court, that is reasonably related to these chapter 11 cases, subject to




3
    The terms Combat Arms Claims and Respirator Claims shall have the meanings given to them
    in the First Day Declaration.


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the restrictions of the CCPA, UK GDPR, and EU GDPR; provided that any receiving party shall

not transfer or otherwise provide such unredacted document to any person or entity not party to the

request. The Debtors shall inform the U.S. Trustee promptly after denying any request for an

unredacted document pursuant to this Order. Nothing herein precludes a party in interest’s right to

file a motion requesting that the Bankruptcy Court unseal the information redacted by this Order.

               The Debtors are authorized to implement the Claimant Notice Procedures, such that

the Debtors will provide (or direct the Court-appointed Claims and Noticing Agent to provide) all

notices, mailings, and other communications that are required to be served on all Tort Claimants to

the respective counsel of record for such claimants, to the extent available and based upon the

information available to the Debtors, in the manner required pursuant to otherwise applicable

noticing procedures in effect in these chapter 11 cases.

               The Notice of Commencement, substantially in the form attached hereto as

Exhibit 1, is hereby approved.

               The Debtors are authorized to serve the Notice of Commencement on all parties

listed on the Creditor Matrix. Service of the Notice of Commencement shall be deemed adequate

and sufficient notice of: (a) the commencement of these chapter 11 cases; and (b) the scheduling

of the meeting of creditors under section 341 of the Bankruptcy Code.

               Notice of the Motion as provided shall be deemed good and sufficient notice of such

Motion and the notice requirements of the Bankruptcy Rules and the Local Rules are satisfied by

such notice.

               The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.

                                                     ###




                                                 4
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                                    Exhibit 1

                            Notice of Commencement
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 Information to identify the case:

 Debtor:        Aearo Technologies LLC, et al.                                                                EIN: N/A
                Name



 United States Bankruptcy Court for the: Southern District of Indiana
                                             (State)



 Case Number:          22-02890-JJG-11                                            Date case filed for chapter 11:    July 26, 2022


Official Form 309F1 (For Corporations or Partnerships)
Notice of Chapter 11 Bankruptcy Case                                                                                                     10/20

For the debtor listed above, a case has been filed under chapter 11 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors and debtors, including information about the
meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to
collect debts from the debtor or the debtor’s property. For example, while the stay is in effect, creditors cannot sue, assert a deficiency,
repossess property, or otherwise try to collect from the debtor. Creditors cannot demand repayment from the debtor by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney’s fees.
Confirmation of a chapter 11 plan may result in a discharge of debt. A creditor who wants to have a particular debt excepted from discharge
may be required to file a complaint in the bankruptcy clerk’s office within the deadline specified in this notice. (See line 11 below for more
information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk’s office at the address
listed below or through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk’s office cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case.


1.   Debtor’s full name: See chart below.

     List of Jointly Administered Cases


        No.                       Debtor                            Address                      Case No.                       EIN #



                                                               7911 Zionsville Road
           1.              Aearo Technologies LLC                                             22-02890-JJG-11                XX-XXXXXXX
                                                              Indianapolis, IN 46268



                                                               7911 Zionsville Road
           2.                Aearo Holding LLC                                                22-02893-JJG-11                XX-XXXXXXX
                                                              Indianapolis, IN 46268



                                                               7911 Zionsville Road
           3.              Aearo Intermediate LLC                                             22-02892-JJG-11                XX-XXXXXXX
                                                              Indianapolis, IN 46268



                                                               7911 Zionsville Road
           4.                    Aearo LLC                                                    22-02891-JJG-11                XX-XXXXXXX
                                                              Indianapolis, IN 46268



                                                               7911 Zionsville Road
           5.            Aearo Mexico Holding Corp.                                           22-02894-JJG-11                XX-XXXXXXX
                                                              Indianapolis, IN 46268



                                                                                                        For more information, see page 2 ►

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                                                                                    number (if known) 22-02890-JJG-11____________________
               Aearo Technologies LLC, et al.
                 Name




                                                                   7911 Zionsville Road
          6.            Cabot Safety Intermediate LLC                                               22-02895-JJG-11                XX-XXXXXXX
                                                                  Indianapolis, IN 46268



                                                                 3M Center, Bldg. 224-5N-
          7.             3M Occupational Safety LLC                                                 22-02896-JJG-11                XX-XXXXXXX
                                                                  40 St. Paul, MN 55144




2.   All other names used in the
     last 8 years: See Rider 1.


3.   Address: See chart above.


                                            Kirkland & Ellis LLP
                                            Kirkland & Ellis International LLP
                                            Edward O. Sassower, P.C. (pro hac vice pending)
                                            Emily Geier (pro hac vice pending)
                                            601 Lexington Avenue
                                            New York, New York 10022
                                            Telephone: (212) 446-4800
                                            Facsimile: (212) 446-4900
                                            Email:      edward.sassower@kirkland.com
                                                         emily.geier@kirkland.com
4.   Debtor’s attorney
     Name and address                       - and -

                                            Kirkland & Ellis LLP
                                            Kirkland & Ellis International LLP
                                            Chad J. Husnick, P.C. (pro hac vice pending)
                                            Spencer A. Winters (pro hac vice pending)
                                            300 North LaSalle
                                            Chicago, Illinois 60654
                                            Telephone: (312) 862-2000
                                            Facsimile: (312) 862-2200
                                            Email:       chad.husnick@kirkland.com
                                                         spencer.winters@kirkland.com
-and-
                                            Ice Miller LLP
                                            Jeffrey A. Hokanson (Ind. Atty. No. 14579-49)
                                            John C. Cannizzaro (Ohio Atty. No. 85161)
                                            Connor Skelly (Ind. Atty. No. 35365-06) (pro hac vice
                                            pending)
                                            One American Square, Suite 2900
                                            Indianapolis, IN 46282-0200
                                            Telephone: (317) 236-2100
                                            Facsimile: (317) 236-2219
                                            Email:       Jeff.Hokanson@icemiller.com
                                                         John.Cannizzaro@icemiller.com
                                                         Connor.Skelly@icemiller.com

5.   Bankruptcy clerk’s office                                                  United States Courthouse              Hours open
                                                                                46 E Ohio St Rm 116                   8:30 a.m. to 4:30 p.m. (prevailing
                                                                                Indianapolis, IN 46204                Eastern Time)
     Documents in this case may be filed
     at this address. You may inspect all
                                                                                                                      Contact phone:
     records filed in this case at this
                                                                                                                      317-229-3800
     office or online at
     https://pacer.uscourts.gov.




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                                                                                     number (if known) 22-02890-JJG-11____________________
                 Aearo Technologies LLC, et al.
                   Name




6.      Meeting of creditors                                                       [TBD]                                  Location: [TBD]

        The debtor’s representative must attend the meeting to be questioned
        under oath.                                                               The meeting may be continued or
        Creditors may attend, but are not required to do so.                      adjourned to a later date. If so, the
                                                                                  date will be on the court docket.


7.      Proof of claim deadline              Deadline for filing proof of claim:                        General Bar Date: [TBD]
                                                                                                        Governmental Bar Date: [TBD]


                                             A proof of claim is a signed statement describing a creditor’s claim. A proof of claim form may be
                                             obtained at www.uscourts.gov or any bankruptcy clerk’s office.
                                             Your claim will be allowed in the amount scheduled unless:
                                             ☐ your claim is designated as disputed, contingent, or unliquidated;
                                             ☐ you file a proof of claim in a different amount; or
                                             ☐ you receive another notice.
                                             If your claim is not scheduled or if your claim is designated as disputed, contingent, or unliquidated, you
                                             must file a proof of claim or you might not be paid on your claim and you might be unable to vote on a plan.
                                             You may file a proof of claim even if your claim is scheduled.

                                             You may review the schedules at the bankruptcy clerk’s office or online at https://pacer.uscourts.gov.

                                             Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a
                                             proof of claim submits a creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can
                                             explain. For example, a secured creditor who files a proof of claim may surrender important nonmonetary
                                             rights, including the right to a jury trial.




8.      Exception to discharge               If § 523(c) applies to your claim and you seek to have it excepted from discharge, you must start a
        deadline                             judicial proceeding by filing a complaint by the deadline stated below.
        The bankruptcy clerk’s office
        must receive a complaint and         Deadline for filing the complaint: To be Determined
        any required filing fee by the
        following deadline.


9.      Creditors with a foreign             If you are a creditor receiving notice mailed to a foreign address, you may file a motion asking the court
        address                              to extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if
                                             you have any questions about your rights in this case.



10. Filing a Chapter 11                      Chapter 11 allows debtors to reorganize or liquidate according to a plan. A plan is not effective unless
    bankruptcy case                          the court confirms it. You may receive a copy of the plan and a disclosure statement telling you about
                                             the plan, and you may have the opportunity to vote on the plan. You will receive notice of the date of the
                                             confirmation hearing, and you may object to confirmation of the plan and attend the confirmation
                                             hearing. Unless a trustee is serving, the debtor will remain in possession of the property and may
                                             continue to operate its business.


11. Discharge of debts                       Confirmation of a chapter 11 plan may result in a discharge of debts, which may include all or part of
                                             your debt. See 11 U.S.C. § 1141(d). A discharge means that creditors may never try to collect the debt
                                             from the debtor except as provided in the plan. If you want to have a particular debt owed to you
                                             excepted from the discharge and § 523(c) applies to your claim, you must start a judicial proceeding by
                                             filing a complaint and paying the filing fee in the bankruptcy clerk’s office by the deadline.




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                                                                                number (if known) 22-02890-JJG-11____________________
              Aearo Technologies LLC, et al.
                Name



                                                               Rider 1
                                                  Other Names Used in the Last 8 Years

                        Current Entity Name                                                      Former Entity Name
                                                                                              E-A-R Specialty Composites
                       Aearo Technologies LLC                                                      Aearo Company
                                                                                                  Aearo Technologies
                        Aearo Holding LLC                                                                N/A
                      Aearo Intermediate LLC                                                             N/A
                            Aearo LLC                                                                    N/A
                    Aearo Mexico Holding Corp.                                                           N/A
                   Cabot Safety Intermediate LLC                                                         N/A
                    3M Occupational Safety LLC                                                           N/A




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